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                                #:10288


 1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
     mseltzer@susmangodfrey.com               hlanger@langergrogan.com
 2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
     1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
 3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
     Phone: (310) 789-3100                    Tel: (215) 320-5660
 4   Fax: (310) 789-3150                      Fax: (215) 320-5703
 5   Scott Martin (Pro Hac Vice)
     smartin@hausfeld.com
 6   HAUSFELD LLP
     33 Whitehall Street, 14th Floor
 7   New York, NY 10004
     Tel: (646) 357-1100
 8   Fax: (2121) 202-4322
 9
     [Additional Counsel on Signature Page]
10
     Plaintiffs’ Co-Lead Counsel
11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
17
                                  DECLARATION OF MARC M.
18   THIS DOCUMENT RELATES TO ALL SELTZER IN SUPPORT OF
     ACTIONS                      PLAINTIFFS’ MOTION FOR
19                                CLASS CERTIFICATION
20                                            JUDGE: Hon. Philip S. Gutierrez
                                              DATE: December 16, 2022
21                                            TIME: 1:30 p.m.
                                              COURTROOM: First Street Courthouse
22                                                         350 West 1st Street
                                                           Courtroom 6A
23                                                         Los Angeles, CA 90012
24

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 1         I, Marc M. Seltzer, hereby declare:
 2         1.     I am a member in good standing of the bar of this Court, an active
 3   member of the State Bar of California, a partner in the law firm of Susman Godfrey
 4   L.L.P., and was appointed interim co-lead counsel for the Plaintiffs in the above-
 5   captioned matter. I have personal knowledge of the facts set forth herein, and if
 6   called as a witness, could and would testify competently thereto.
 7         2.     I make this declaration in support of Plaintiffs’ Motion for Class
 8   Certification.
 9         3.     Susman Godfrey is a nationally-recognized law firm that focuses
10   entirely on high-stakes commercial litigation. The firm maintains offices in
11   Houston, Seattle, Los Angeles, and New York. A copy of Susman Godfrey’s firm
12   profile is attached as Exhibit 1.
13         4.     I have practiced law in this district and in courts across the country for
14   nearly five decades, and have been appointed to serve as plaintiffs’ lead counsel in
15   several class action cases, including one of three co-lead counsel in In re Toyota
16   Motor Corp. Unintended Acceleration Litig., Case No. CV 10-ML-2151 (C.D.
17   Cal.), which settled for $1.6 billion. The Court in the Toyota litigation remarked
18   that “[c]lass counsel has consistently demonstrated extraordinary skill and effort” in
19   representing the interests of the plaintiff class. Dkt. No. 3933 at 12. In White v.
20   NCAA, 06-cv-0999 (C.D. Cal.), I served as co-lead counsel and achieved benefits
21   netting the class approximately $220 million. My experience in managing complex
22   litigation resulted in me being named a Law360 “Class Action MVP” in 2013, one
23   of only three attorneys in the nation to receive that honor. I have also demonstrated
24   leadership in this case, including in successfully arguing before the Ninth Circuit to
25   obtain a reversal of the Court’s prior dismissal in this case. A copy of my attorney
26   profile is attached as Exhibit 2.
27         6.     My colleague Bill Carmody is part of the Susman Godfrey team
28   involved in this action. A copy of his attorney profile is attached as Exhibit 3.


                                                 2
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 1         7.     My colleague Arun Subramanian is also part of the Susman Godfrey
 2   team involved in this action. A copy of his attorney profile is attached as Exhibit 4.
 3         8.     My colleague Seth Ard is also part of the Susman Godfrey team
 4   involved in this action. A copy of his attorney profile is attached as Exhibit 5.
 5         9.     My colleague Ian Gore is also part of the Susman Godfrey team
 6   involved in this action. A copy of his attorney profile is attached as Exhibit 6.
 7         10.    My colleague Tyler Finn is also part of the Susman Godfrey team
 8   involved in this action. A copy of his attorney profile is attached as Exhibit 7.
 9         11.    My colleague Armstead Lewis is also part of the Susman Godfrey
10   team involved in this action. A copy of his attorney profile is attached as Exhibit 8.
11

12         I declare under penalty of perjury under the laws of the United States that the
13   foregoing is true and correct.
14         Executed August 19, 2022, in Los Angeles, California.
15
                                                    /s/ Marc M. Seltzer
16                                                  Marc M. Seltzer
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           EXHIBIT 1
       to the Declaration
       of Marc M. Seltzer
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The Susman Godfrey Difference
For over forty years, Susman Godfrey has focused its nationally recognized practice on just one
thing: high-stakes commercial litigation. We are one of the nation’s leading litigation boutique law
firms, with offices in Houston, Los Angeles, New York and Seattle. We have a unique perspective,
the will to win, and an uncommon structure, which taken together provide the way to win.


The Will to Win
At Susman Godfrey, we want to win because we are stand-up trial attorneys, not discovery
litigators. We approach each case as if it is headed for trial. Everything that we do is designed to
prepare our attorneys to persuade a jury. When you are represented by Susman Godfrey, the
opposing party will know that you are willing to take the case all the way to a verdict if necessary;
this fact alone can make a good settlement possible.
Susman Godfrey has a longstanding reputation as one of the premier firms of trial lawyers in the
United States. We are often brought in on the eve of trial to "rescue" troubled cases or to take the
reins when the case requires trial lawyers with a proven record of courtroom success.
We also want to win because we share the risk with our clients. We prefer to work on a
contingency-fee basis so that our time and efforts pay off only when we win. Our interests are
aligned with our clients—we want to achieve the best-possible outcome at the lowest possible
cost.
Finally, we want to win because each of our attorneys shares a commitment to your success.
Each attorney at the firm—associate as well as partner—examines every proposed contingent
fee case and has an equal vote on whether or not to accept it. The resulting profit or loss affects
the compensation of every attorney at the firm. This model has been a tremendous success for
both our attorneys and our clients. In recent years, we have achieved the highest profit-per-
partner results in the nation. Our associates have enjoyed performance bonuses equal to their
annual salaries. When you win, our attorneys win.


Unique Perspective
Susman Godfrey represents both plaintiffs and defendants. We thrive on variety, flexibility, and
creativity. Clients appreciate the insights that our broad experience brings. "I think that's how they
keep their tools sharp," says one.
Many companies who have had to defend cases brought by Susman Godfrey on behalf of
plaintiffs are so impressed with our work in the courtroom that they hire us themselves next time
around—companies like El Paso Corporation, Georgia-Pacific Corporation, Mead Paper, and
Nokia Corporation.
We know from experience what motivates both plaintiffs and defendants. This dual perspective
informs not just our trial tactics, but also our approach to settlement negotiations and mediation

Susman Godfrey LLP                                                                                                                    1


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presentations. We are successful in court because we understand our opponent's case as well
as our own.


An Uncommon Structure
At Susman Godfrey, our clients hire us to achieve the best possible result in the courtroom at the
least possible cost. Because we learned to run our practice on a contingency-fee model where
preparation of a case is at our expense, we have developed a very efficient approach to
commercial litigation. We proved that big cases do not require big hours. And, because we staff
and run all cases using the same model, clients who prefer to hire us by the hour also benefit
from our approach.
There is no costly pyramid structure at Susman Godfrey. As a business, we are lean, mean and
un-leveraged—with a two-to-one ratio between partners and associates. To counter the structural
bloat of our opponents, who often have three associates for each partner, we rely on creativity
and efficiency.
Susman Godfrey's experience has taught what is important at trial and what can be safely ignored.
We limit document discovery and depositions to the essential. For most depositions and other
case-related events we send one attorney and one attorney alone to handle the matter. After
three decades of trials, we know what we need—and what is just a waste of time and money.


Unparalleled Talent
Susman Godfrey prides itself on a talent pool as deep as any firm in the country. Clerking for a
judge in the federal court system is considered to be the best training for a young trial attorney,
100% of our Associates and over 90% of our Partners served in these highly sought-after
clerkships after law school. Ten of our trial lawyers have clerked at the highest level—for Justices
of the United States Supreme Court.
Our associates are not document-churning drones. Each associate at Susman Godfrey is
expected to second-chair cases in the courtroom from the start. Because we are so confident in
their abilities, we consider associates for partnership after seven years with the firm, unless they
joined us following a federal judicial clerkship. In that case, we give credit for the clerkship, and
the partnership track is generally six years. We pay them top salaries and bonuses, make them
privy to the firm's financials, and let them vote—on an equal standing with partners—on virtually
all firm decisions.
Each trial attorney at Susman Godfrey is invested in our unique model and stands ready to handle
your big-stakes commercial litigation.




Susman Godfrey LLP                                                                                                                    2


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A Record of Winning
One of Susman Godfrey's early cases, the Corrugated Container antitrust trial, led to one of the
highest antitrust jury verdicts ever obtained. Since that extraordinary start, the firm has remained
devoted to helping businesses and individuals achieve similarly extraordinary results.
Recent high-profile victories include:
     •    Secured a $600 million settlement for residents of Flint, Michigan in the nationally followed
          Flint Water Crisis litigation.
     •    Won a $706.2 million unanimous jury verdict for client HouseCanary, in a breach of
          contract and misappropriation of trade secrets case against Quicken Loans affiliate, Title
          Source, Inc. The judgement appears at number four on The National Law Journal’s “Top
          100 Verdicts of the Year” list.
     •    Won a $25.25 million jury verdict for client, Steven Lamar, in a contract and intellectual
          property dispute with Dr. Dre and Jimmy Iovine over the iconic Beats headphones — this
          verdict was also included on The National Law Journal’s “Top 100 Verdicts of the Year”
          list.
     •    Secured a favorable settlement for Uber in its epic battle against Google’s Waymo over
          self-driving car technology.
     •    Won a jury verdict valued at $128 million for client General Electric, in its legal battle
          against the Nebraska Investment Finance Authority.
     •    Secured one of the largest settlement awards ever to a single whistleblower in a False
          Claims Act case—over $450 million from Novartis Pharmaceuticals, who was accused of
          defrauding Medicare and Medicaid by illegally paying kickbacks to pharmacies so they
          would recommend Novartis’s medications to doctors and patients.
     •    Secured a settlement valued at $100 million for a certified class of plaintiffs in a copyright
          infringement class action against well-known music streaming service, Spotify.
     •    Recovered $40 million for a class of derivatives investors in a securities class action
          against Valeant Pharmaceuticals International, Inc. The deal is believed to be the largest
          recovery ever obtained on behalf of derivative investors in history.
     •    Won a $50.3 million federal jury verdict for client, Green Mountain Glass, in a patent
          infringement lawsuit against Ardagh Glass, Inc. This verdict was #34 on The National Law
          Journal’s “Top 100 Verdicts of 2017” list.
     •    Secured a $91.25 million settlement for insurance policy owners in 37 Besen Parkway,
          LLC v. John Hancock Life Insurance Company
     •    Secured nearly $600 million with various international investment banks on behalf of our
          plaintiff clients in the ongoing LIBOR antitrust class action. The agreement with these
          banks represents the resolution of claims by investors that transacted directly with the

Susman Godfrey LLP                                                                                                                    3


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          international banks on the panel to determine US Dollar LIBOR. Just recently the class
          that Susman Godfrey represents became the first and only class certified by the SDNY.
     •    Won a $70 million judgement for Wellstat Therapeutics against BTG International, Inc. in
          a pharmaceutical contract dispute in the Delaware Court of Chancery.
     •    Secured a settlement valued at $73 million while representing Flo & Eddie (the founding
          members of 60’s music group, The Turtles) along with a class of owners of pre-1972 sound
          recordings for copyright violations by music provider Sirius XM. Susman Godfrey attorneys
          on this matter were named “California Lawyer Attorneys of the Year” by The Daily Journal
          for their legal work on this case.
     •    Won an over $43.2 million federal court jury award in favor of Apache Deepwater LLC and
          against W&T Offshore in an oil and gas related breach of contract case having to do with
          deepwater wells in the Gulf of Mexico. This verdict was named by The National Law
          Journal as one of “The Top 100 Verdicts of 2016” and appeared on Texas Lawyer’s “Hall
          of Fame Verdicts” in 2019.
     •    Secured over $1.2 billion with several international automobile parts suppliers in the In Re
          Automotive Parts (Auto Parts) price-fixing class action. The multidistrict litigation, pending
          in the United States District Court for the Eastern District of Michigan, alleges long-running
          global collusion by auto parts companies to fix prices of automotive component parts.
     •    Secured as lead counsel in a case that challenged Phoenix Life Insurance Company’s
          and PHL Variable Insurance Company’s decision to raise the cost of insurance (“COI”)
          nationwide on life insurance policy owners. The case settled with plaintiffs receiving a
          $48.5 million cash fund, COI freeze through 2020, and a covenant by Phoenix not to
          challenge the policies, worth $9 billion in face value.
     •    Secured a $244 million settlement in a federal monopolization and antitrust class action
          against News Corporation (News Corp) on behalf of a certified class of more than 500
          consumer packaged goods companies. The media giant also agreed to change its
          business practices regarding in-store advertising.


Pro Bono
Susman Godfrey is committed to improving the laws and the legal system by representing those
who cannot afford to pay for legal services. We encourage our attorneys to participate in pro bono
opportunities and make firm resources available to ensure our pro bono efforts are meaningful
and effective.
Lawyers at Susman Godfrey are often tapped by trial and appellate courts across the country to
assist on precedent-setting pro bono matters. We also regularly partner with various organizations
to drive forward significant and timely pro bono litigation. These organizations include, among
many, the American Civil Liberties Union (ACLU), the Civil Rights Corps, the Texas Fair Defense
Project, the Next Generation Action Network Legal Advocacy, and the International Rescue
Committee.
Susman Godfrey LLP                                                                                                                    4


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In 2021, Susman Godfrey launched its Minority-Owned Business (MOBUS) Pro Bono
Program which provides legal representation to minority-owned businesses in Houston in
connection with commercial litigation, such as breach of contract, fraud, and other business
disputes.
Susman Godfrey has been included on National Law Journal’s Pro Bono Hot List and our
lawyers have been honored with awards such as Texas Lawyer’s Attorney of the
Year, University of Texas School of Law’s Distinguished Alumnus for Community Service
Award, and Texas Appleseed’s J. Chrys Dougherty Good Apple Award.
Should you want to partner with Susman Godfrey on a pro bono initiative, you can contact our
Pro Bono Committee at ProBono@susmangodfrey.com.
The cases below illustrate the variety and importance of the matters we litigate pro bono.

Constitutional Challenges
   •   O’Donnell v. Harris County. For decades, the Harris County Jail held tens of thousands
       of people who were arrested for misdemeanors but were financially unable to post bail.
       Though arrested for the same minor offense, a person with money could avoid jail entirely
       while an indigent person would spend days or weeks in jail before determination of merits.
       Along with Civil Rights Corps and the Texas Fair Defense Project, Susman Godfrey
       represents on a pro bono basis a class of indigent arrestees who challenged the
       constitutionality of Harris County’s money bail practices. After an eight-day evidentiary
       hearing, the US District Court found Harris County’s system unconstitutional and ordered
       broad injunctive relief. After the bail reforms went into effect, the US Court of Appeals for
       the Fifth Circuit affirmed the district court’s rulings that the system was unconstitutional. In
       the first year in which the injunctive relief was in effect, more than 12,000 people were
       released from jail.

Human Rights/Anti-Discrimination
  •  Faculty, Alumni and Students Opposed to Racial Preferences v. New York
     University Law Review. Susman Godfrey defended New York University Law Review
     against allegations that its diversity and inclusiveness initiatives violate federal bias law by
     favoring female and minority applicants and authors. The Hon. Edgardo Ramos of the
     Southern District of New York granted the motion filed by Susman Godfrey to dismiss the
     case. The Second Circuit later affirmed the decision.
     •    Texas v. United States of America and the International Rescue Committee.
          Represented the International Rescue Committee (IRC) pro bono when the state of Texas
          sued to block the federal government and the IRC from resettling any Syrian refugees in
          Texas. Working with the ACLU, and the Southern Poverty Law Center, the team defeated
          the state’s multiple requests for injunctive relief. The federal district court later dismissed
          all of the state’s claims.


Susman Godfrey LLP                                                                                                                    5


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      •    Jared Woodfill et al. v. Annise Parker et al. Served as lead trial counsel for the city of
           Houston and won a jury verdict and a final judgment in a closely-watched trial over a
           challenge to Houston’s Equal Rights Ordinance, a law that prohibits discrimination based
           on an individual’s sex, race, color, ethnicity, national origin, age, familial status, marital
           status, military status, religion, disability, sexual orientation, genetic information, gender
           identity, or pregnancy in city employment and city services, city contracts, public
           accommodations, private employment (excluding religious organizations), and housing.
           The city asked Susman Godfrey to represent it pro bono and defend the ordinance. After
           a two-week trial, the jury issued its verdict resoundingly in the city’s favor. After two months
           of post-verdict briefing, the court issued a final judgment in favor of the city.
      •    International Franchise Ass’n, Inc. et al. v. City of Seattle, et al. Retained by the city
           of Seattle on a partial pro bono basis to defend its landmark $15 per hour minimum wage
           ordinance. Several Seattle franchise businesses challenged the ordinance on a number
           of legal grounds, including violation of the Equal Protection Clause and Dormant
           Commerce Clause of the US Constitution. The district court denied the plaintiff franchise
           group’s motion for a preliminary injunction and found that the plaintiffs had failed to
           demonstrate a likelihood of succeeding on the merits of any of their claims.

 Death Penalty Appeals/Prisoners’ Rights
    •  David Daniels et al. v. Dallas County Sheriff Marian Brown. Partnered with the
       American Civil Liberties Union, ACLU of Texas, Civil Rights Corps, and the Next
       Generation Action Network Legal Advocacy Fund to bring a federal class-action lawsuit
       for emergency relief to remedy the Dallas County Jail’s ongoing failure to manage the
       extraordinary risks COVID-19 poses to its detainees, staff, and the larger community.
      •    In re: Alfred DeWayne Brown. Represented a wrongfully convicted man, Alfred Dewayne
           Brown, in his now successful quest to obtain an “actual innocence” finding from the Harris
           County D.A.’s office after nearly a decade on death row for a murder he didn’t commit.
      •    Harris v. Fischer. Secured an important pro bono appellate victory on behalf of a former
           Bedford Hills Correctional Facility inmate who alleged her Fourth and Eighth Amendment
           rights were violated during a body cavity search while she was incarcerated. In its ruling,
           the US Court of Appeals for the Second Circuit vacated the district court’s decision
           dismissing the case and remanded for further consideration.
      •    Death Penalty Appeals. Handled several death penalty appeals focusing on the
           requirement for the State of Texas to release information about the chemicals used to put
           prisoners to death in order for counsel to protect the rights of their clients not to be subject
           to cruel and unusual punishment. In one case, the Susman Godfrey team obtained an
           injunction against execution due to this issue.

 Other Significant Pro Bono Work
    •   Alley Theater v. Hanover Insurance Co. The Tony Award-winning Alley Theatre, the
        oldest professional theatre company in Texas and the third-oldest resident theatre in the
 Susman Godfrey LLP                                                                                                                    6


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           country, suffered devastating destruction during Hurricane Harvey, incurring millions in
           losses from property damage, lost income and expenses. Susman Godfrey represented
           the Theatre pro bono in insurance litigation related to hurricane-caused business
           interruption. Susman Godfrey first secured a partial summary judgment ruling on behalf of
           Alley in a coverage lawsuit against Hanover over claims the theatre was not properly
           reimbursed for hurricane-related business interruption losses. The firm later scored a
           second victory for the theater when they settled the final piece of the litigation.
      •    First Presbyterian Church of Houston v. Presbytery of the New Covenant, Inc.
           Represented First Presbyterian Church of Houston (FPC), one of the oldest congregations
           in Houston, in a property dispute against the Presbyterian Church (PCUSA), which
           claimed for close to 30 years that it has a trust interest in FPC’s property in Houston,
           Texas. The Court ruled in FPC’s favor on summary judgment, entering final judgment and
           a permanent injunction against the Presbytery of the New Covenant and finding that the
           PCUSA has no interest in FPC’s property. After appellate arguments, the parties settled,
           with the denomination releasing any claim to any interest in FPC’s property.
      •    Law Center to Prevent Gun Violence. For years, Susman Godfrey has provided pro
           bono legal research, consultation, and strategy advice to the Law Center to Prevent Gun
           Violence regarding measures to regulate the sale and use of firearms.


 Office Locations

  Houston                         Los Angeles                     New York                           Seattle
  1000        Louisiana      St   1900 Avenue of the Stars        1301 Avenue of the Americas        1201 Third Avenue
  Suite 5100                      Suite                    1400   32nd                       Floor   Suite                    3800
  Houston, TX, 77002              Los Angeles, CA 90067           New York, NY 10019                 Seattle, WA 98101
  T:               713-651-9366   T:               310-789-3100   T:                 212-336-8330    T:               206-516-3880
  F: 713-654-6666                 F: 310-789-3150                 F: 212-336-8340                    F: 206-516-3883




 Susman Godfrey LLP                                                                                                                    7


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           EXHIBIT 2
       to the Declaration
       of Marc M. Seltzer
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                    Marc M. Seltzer
                    Partner
                    Los Angeles
                    (310) 789-3102
                    mseltzer@susmangodfrey.com



Overview
Marc Seltzer has practiced law for more than forty-five years, litigating complex cases in state and federal
courts throughout the United States. Before joining Susman Godfrey, he was a principal in the law firm of
Corinblit & Seltzer, a Professional Corporation. Marc Seltzer’s relationship with the lawyers of Susman
Godfrey began in the late 1970’s, when he worked with Steve Susman on the Corrugated Container antitrust
case. In the ensuing years, Mr. Seltzer joined forces with Susman Godfrey on a number of other cases. In
February 1998, Marc Seltzer became a partner of the firm, and opened the firm’s Los Angeles office. Since
then, the firm’s Los Angeles office has become one of the leading litigation boutiques in California.

Marc Seltzer’s involvement in nationally prominent litigation began in the mid-1970’s, when he was tapped by
Jack Corinblit to work on the massive Equity Funding securities litigation. That case consisted of more than
100 consolidated class and individual cases, and was settled in 1976 for over $60 million, then the largest
recovery ever achieved in a securities fraud class action. See In re Equity Funding Corp. of America
Securities Litigation, 438 F. Supp. 1303 (C.D. Cal. 1977). Later, in the 1980’s, Mr. Seltzer was appointed by
the Los Angeles federal court to serve as sole lead counsel to represent the plaintiff class in the ZZZZ
Best securities fraud case. The ZZZZ Best fraud was described by the United States Attorney for the Central
District of California as “the most massive and elaborate securities fraud perpetrated on the West Coast in
over a decade,” harking back to the Equity Funding case. The case resulted in several important published
decisions sustaining plaintiffs’ claims. See In re ZZZZ Best Securities Litigation, 864 F. Supp. 960 (C.D. Cal.
1994).

Since joining the firm, Mr. Seltzer has continued to represent both plaintiffs and defendants in a wide variety
of high stakes cases. Among other prominent cases, Mr. Seltzer served as co-trial counsel with Steve
Susman in representing Frank McCourt in his marital property litigation with his former wife which involved
competing claims to ownership of the Los Angeles Dodgers. In 2015, Mr. Seltzer successfully argued the
appeal taken by Ms. McCourt from the order denying her motion to set aside the settlement reached in that
case.

In the In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Products Liability
Litigation, Marc Seltzer was appointed by the Court to serve as one of the co-lead counsel for the economic
loss class action plaintiffs. After three years of hard fought litigation, an historic settlement was reached
valued by the Court at approximately $1.6 billion, with the class receiving net benefits valued at
approximately $1.4 billion.

Mr. Seltzer is currently leading Susman Godfrey’s efforts as one of co-lead counsel for plaintiffs in In re
Automotive Parts Antitrust Litigation, pending in the Detroit federal court. The United States Department of
Justice has called the cartels that are the subject of this litigation the largest group of price-fixing conspiracies


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ever uncovered. The cases have been partially settled for more than a billion dollars.

In 2019, Seltzer was named one of the “Thought Leaders in Competition – Plaintiff” by Who’s Who Legal (Law
Business Research Ltd). Seltzer is one of only seventeen lawyers in the United States and one of only twenty
six lawyers across the world to receive this distinction.

In 2020 and 2021 Seltzer was named one of California’s “Top Antitrust Lawyers” by the Los Angeles Daily
Journal. In 2018, Seltzer was named one of thirty “Top Plaintiffs Lawyers” and one of the “Top 100 Lawyers”
in California by the same publication. He was named a “Top Plaintiffs Lawyer” again in 2022. Seltzer was
honored twice in late 2017 for his ground-breaking antitrust work. In December, 2017, he was named an
“Competition MVP” by Law360 and in September 2017, Seltzer was named a “Giant Slayer” by The
Recorder (ALM Publication). These recognition were in large part due to his leadership roles in In re: Auto
Parts and In re Animation Workers Antitrust Litigation, the latter in which Seltzer took on the world’s largest
animation companies, including Disney, Pixar, Lucasfilm Ltd., Dreamworks and Sony, on behalf of animation
employees and recovered nearly $170 million.

In December 2013, Mr. Seltzer was named to Law360’s annual list of legal “MVPs.” He was one of just three
attorneys in the nation selected by Law360 for recognition in the Class Action category. He has also
been named to the International Who’s Who of Competition Lawyers & Economists. Nominees were selected
by Global Competition Review based upon “comprehensive, independent survey work with both general
counsel and private practice lawyers worldwide.” Seltzer has been named to this list many times, most
recently in 2018.

Additionally, Mr. Seltzer’s many significant class action achievements helped secure Susman Godfrey’s
recognition as Law360’s “Class Action Group of the Year” in 2017 and 2018.

Over his many years of practice, Mr. Seltzer has also represented defendants in antitrust, securities,
copyright, trademark, trade secret, unfair competition, class action and other complex litigation.

Mr. Seltzer has also been recognized for his service to the legal community.



Education
  University of California at Berkeley (B.A., 1969)
  UCLA School of Law (J.D., 1972)



Honors and Distinctions
  Selected as one of the 30 Top Plaintiff Lawyers in all of California in 2018 and in 2022 by The Los Angeles
  Daily Journal
  Selected as one of the Top Antitrust Lawyers in California in 2020 and 2021 by The Los Angeles Daily
  Journal.
  Recognized by the American Jewish Committee (AJC) at its 39th Annual Learned Hand Award Dinner
  (2019)
  Recognized by the National Association of Legal Fee Analysis (Specializing in Attorney’s Fees and Legal
  Billing) as “Highly Experienced in Dealing with Fee Issues Arising in Complex Litigation.” (2019, 2020)
  Recognized for Outstanding Antitrust Litigation Achievement in Private Law Practice by the American
  Antitrust Institute (2019) for work on In re: Automotive Parts Antitrust Litigation.
  Recognized on Lawdragon 500’s list of the country’s Leading Plaintiff Financial Lawyers (2019, 2020, 2021,
  2022)

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 Named one of the Thought Leaders in Competition – Plaintiff by Who’s Who Legal (Law Business
 Research Ltd) – (2019, 2020, 2021)
 Ranked by Martindale-Hubble as a Judicial AV Preeminent Lawyer – the highest possible rating in both
 legal ability and ethical standards (2017 -2022)
 Selected as one of the Top 100 Lawyers in California in 2018 by The Los Angeles Daily Journal
 Recognized by Chambers U.S. for Litigation: General Commercial in California (2018, 2019, 2020)
 Recognized by Chambers U.S. for Antitrust Litigation in California (2020)
 Named a “Leading Lawyers” for “Antitrust – Civil litigation/Class Actions – Plaintiff” by The Legal 500 (2018,
 2019, 2020, 2021)
 Named to the Global Competition Review’s Who’s Who Legal: Competition – a guide to the world’s leading
 competition lawyers and economists (2018, 2019, 2020).
 Named a Giant Slayer by The Recorder (2017, ALM)
 Named a Competition MVP by Law360 (2017)
 Selected as one of the 30 Top Plaintiff Lawyers in all of California in 2016 by The Los Angeles Daily
 Journal
 Named a “Super Lawyer” by Southern California Law & Politics magazine (2004-2022, Thomson Reuters)
 Named a National Practice Area Star by Benchmark Litigation (2019, 2022)
 Named a Litigation Star by Benchmark Litigation (2014 – 2022)
 Named by US News as one of the Best Lawyers in America for Commercial Litigation and Litigation –
 Securities (Los Angeles, 2016-2022, Woodward-White, Inc.)
 Named a “Class Action MVP” by Law360 (2013)
 Recipient, 2012 Jewish Federation of Los Angeles’ Bruce I. Hochman-Maimonides Torch of Justice Award
 Recipient, 2004 American ORT Jurisprudence Award
 Named one of Law Dragon’s 500 Leading Plaintiff’s Lawyers (2007)
 Named one of Law Dragon’s 100 Lawyers You Need To Know in Securities Litigation (2008)



Books and Articles
 Co-author, California Federal Civil Rules (LexisNexis 2017)
 Co-author, California State Antitrust and Unfair Competition Law (Matthew Bender & Co. 2014), published
 by the Antitrust and Unfair Competition Law Section, State Bar of California
 “Choosing Between Class and Derivative Actions,” published in Second Annual Institute, Class and
 Derivative Litigation in the 1990’s — The New Frontier (Prentice Hall Law & Bus. 1991); and the same topic
 for subsequent Annual Institutes
 “Measures of Damages in Private Actions for Violations of the Federal Securities Laws: The Basic Rules
 and Selected Problems,” published in Securities Litigation 1990 (PLI 1990)
 “Shareholders’ Derivative Suits in Contests for Corporate Control,” published in Securities Litigation 1986:
 Prosecution and Defense Strategies (PLI 1986)



Professional Associations and Memberships
 Past Vice-Chair of the Executive Committee, Antitrust and Unfair Competition Law Section, State Bar of
 California

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 Past President and current member of the Board of Directors of the Ninth Judicial Circuit Historical Society
 Past President and current member of the Board of Directors of the Legal Aid Foundation of Los Angeles
 Life Member of the American Law Institute
 Member, Advisory Board of the American Antitrust Institute
 Member, The Chancery Club
 Member, Board of Directors of the American Constitution Society for Law and Policy
 Member, Board of Directors of the National Equal Justice Library
 Member, Board of Directors, American Friends of Hebrew University, Western Region
 Member, Board of Trustees of the Lawyers Committee for Civil Rights Under Law
 Member, Board of Directors of the Friends of the Los Angeles County Law Library
 Life Fellow of the American Bar Foundation
 Member, American Bar Association (and its Business Law, Antitrust Law, Torts and Insurance Law, and
 Litigation Sections)
 Member, Board of Counselors for Equal Justice Works



Notable Representation
 In re: Libor-Based Financial Instruments Antitrust Litigation, Susman Godfrey serves as court-appointed co-
 lead counsel in this consolidated antitrust proceeding arising out of the LIBOR scandal. Seltzer is one of
 most senior members of the Susman Godfrey trial team in this litigation. Susman Godfrey represents the
 over-the-counter direct purchaser class, which was certified by the Court in 2018- the only one of several
 proposed classes to receive certification. Recent agreements with several defendants have brought
 settlements to date to nearly $600 million. Each of the settling defendants has also agreed to cooperate in
 the ongoing litigation against the remaining non-settling defendants.
 In re Animation Workers Antitrust Litigation, consolidated class actions filed in San Jose federal court on
 behalf of animation workers who were allegedly subject to wage suppression as a result of “no poaching”
 agreements by their employers. Marc Seltzer and the firm were appointed to serve as co-lead counsel for
 the plaintiffs. Over $168 million in settlements, before fees and expenses, were secured for the benefit of
 the class. Seltzer was named a “Giant Slayer” by The Recorder (2017, ALM Publication) for his work on
 this case.
 In re Korean Air Lines Co., Ltd. Antitrust Litigation, consisting of more than eighty consolidated antitrust
 class action cases pending in the Los Angeles federal court. Marc Seltzer was appointed by the Los
 Angeles federal court to serve as one of the co-lead counsel for the class. Plaintiffs alleged that the two
 airline company defendants conspired to fix the prices of tickets for travel between the United States and
 Korea. The case was settled for $86 million in cash and travel vouchers, with the class receiving
 approximately $60 million.
 Schulein, et al. v. Petroleum Development Corp., et al., a case in which Marc Seltzer served as lead
 counsel for the plaintiffs in a class action brought in Santa Ana federal court on behalf of more than 7000
 limited partners who invested in 12 oil and gas limited partnerships. Plaintiffs alleged the defendants made
 false and misleading statements and omitted material information regarding the value of the partnerships in
 proxy statements used to solicit votes in favor of mergers that cashed the plaintiffs out of their investments.
 After three years of hard fought litigation, the case was settled on the eve of trial for $37.5 million, with the
 class receiving approximately $24 million.
 In re Structured Settlement Litigation, a series of consolidated class actions were brought in the Los
 Angeles Superior Court in which Marc Seltzer served as one of the lead counsel for the plaintiffs. The
 plaintiffs were parties to structured settlements that resolved their personal injury and wrongful death
 cases. They were victimized years later by the alleged fraudulent conversion of U.S. Treasury bonds

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backing their settlements. The litigation was settled for approximately $130 million. More than $100 million
was distributed to the class.
McGuire v. Dendreon Corp., consolidated securities fraud class action cases filed in Seattle federal court in
which Marc Seltzer was appointed by the Court to serve as lead counsel for the class. Plaintiffs alleged that
defendants had made false and misleading statements about a new drug that the company planned to sell.
The case was settled for $16.5 million, with the class receiving approximately $12 million.
Clark v. AdvanceMe, Inc., a class action brought in Los Angeles federal court challenging financial
arrangements with retail merchants under California’s laws against usury. Marc Seltzer served as lead
counsel for the class. The case was settled for approximately $23.4 million in cash and other economic
consideration, with the class receiving approximately $19 million.
CLRB Hanson Industries, LLC v. Google, Inc., a class action for alleged overcharging for advertising
services which was settled for $20 million, with the class receiving $15 million. Marc Seltzer successfully
argued the appeal from the judgment approving the settlement before the Ninth Circuit. See 465 Fed.
Appx. 617 (9th Cir. 2012)
In Re Universal Service Fund Telephone Billing Practices Litigation, an antitrust and breach of contract
class action involving more than fifty consolidated cases in which Marc Seltzer served as co-lead counsel
for plaintiffs. The case was settled as to one defendant for benefits to the class totaling $25 million, and
tried to a verdict as to the remaining defendant. The jury found in favor of defendant on the antitrust claim
and returned a verdict in favor of plaintiffs on the breach of contract claim which was affirmed by the Tenth
Circuit. The trial court issued numerous published decisions in this matter. See, e.g., In Re Universal
Service Fund Telephone Billing Practices Litigation, 300 F. Supp.2d 1107 (D. Kan. 2003).
Masimo Corp. v. Tyco Healthcare Group L.P., an individual antitrust case for monopolization and restraint
of trade in which Marc Seltzer served as co-trial counsel for the plaintiff. The case was tried to a verdict
resulting in an award in favor of our client. A new trial was granted as to damages. On retrial, the Court
awarded approximately $45 million in damages (after trebling). The Ninth Circuit affirmed the liability verdict
and damages award. See 350 Fed. Appx. 95 (9th Cir. 2009). Our client received a net recovery of
approximately $27 million.
White v. NCAA, an antitrust class action brought in Los Angeles federal court challenging limitations on
financial assistance provided by colleges and universities to student athletes. Marc Seltzer served as co-
lead counsel for the plaintiff class. The case was settled for benefits netting the class approximately $220
million, plus court-approved attorneys’ fees and costs.
Livid Holdings, Ltd. v. Salomon Smith Barney, Inc., a securities fraud case brought on behalf of an investor
in a start up company. Marc Seltzer was retained to represent the plaintiff on appeal following the dismissal
of the action by the trial court, and was successful in overturning the dismissal of the case.See Livid
Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940 (9th Cir. 2005). The case was subsequently
settled for a confidential amount.
In Motorcar Parts & Accessories Securities Litigation, fourteen consolidated securities fraud class actions in
which Marc Seltzer was appointed by the Los Angeles federal court to serve as lead counsel for the class.
The case was settled for $7.5 million. See Z-Seven Fund, Inc. v. Motorcar Parts & Accessories, 231 F.3d
1215 (9th Cir. 2000).
In re IDB Communications Group, Inc. Securities Litigation, in which Marc Seltzer served as one of four co-
lead counsel appointed by the Los Angeles federal court to represent the plaintiff class in more than twenty
consolidated securities fraud class action cases. The case was settled for $75 million.
In re Taxable Municipal Bond Securities Litigation, in which four lawyers, including Marc Seltzer, served on
Plaintiffs’ Executive Committee, and together with plaintiffs’ lead counsel, supervised and managed every
aspect of the litigation. This litigation was a consolidated multi-district proceeding brought on behalf of
defrauded purchasers of taxable municipal bonds. The case resulted in numerous reported decisions on
important recurring issues arising under the federal securities laws. See, e.g., In re Taxable Municipal Bond
Litigation, [1993 Transfer Binder] Fed. Sec. L. Rep. (CCH) 97,742 (E.D. La. 1993). After several years of
intense litigation, the case was settled for approximately $110 million.

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Cowles v. Gannett Outdoor Co., Inc., of Southern California, coordinated class actions brought in Los
Angeles federal court for an alleged conspiracy to suppress competition for leases for billboards sites in
Southern California in violation of § 1 of the Sherman Act. Marc Seltzer served as co-lead counsel for the
class. The case was settled for $6.5 million.
Slaven v. B. P. America, Inc., a class action brought in Los Angeles federal court on behalf of fishermen
and business owners for economic losses suffered as a result of the spill of more than 200,000 gallons of
crude oil from a tanker off the coast of Huntington Beach, California that befouled coastal waters and
nearby beaches. The case was brought under the Trans-Alaska Pipeline Authorization Act, admiralty law
and the law of California, and resulted in several published decisions in the district court and the Ninth
Circuit. See, e.g., Slaven v. B. P. America, Inc., 973 F.2d 1468 (9th Cir. 1992). Marc Seltzer served as co-
lead counsel for the class. The case was ultimately settled for $4 million, plus court-approved attorneys’
fees and costs.
In re Carnation Company Securities Litigation, consolidated class actions for violation of the federal
securities laws brought in Los Angeles federal court. The plaintiffs alleged that false denials were made
relating to the potential takeover of Carnation Company by Nestle, S.A., before the merger of the two firms
was announced. Marc Seltzer served as co-lead counsel for the class. The case was settled for $13 million.
In re International Technology Securities Litigation, consolidated securities class actions filed in Los
Angeles federal court. The plaintiffs alleged that the Company’s financial statements were materially
misleading for failing to earlier write off or set up appropriate accounting reserves relating to the Company’s
off-site waste disposal operations. Marc Seltzer served as co-lead counsel for plaintiffs. The case was
settled for $12 million in cash and newly-issued securities.
Guenther v. Cooper Life Sciences, Inc., a combined stockholders class and derivative action brought in
San Francisco federal court for alleged false and misleading statements regarding the Company’s products
and prospects. Marc Seltzer served as co-lead counsel for plaintiffs. The case was settled for $9.85 million
in cash plus non-cash economic benefits valued at $8.3 million.
Heckmann v. Ahmanson, consolidated class and derivative actions arising out of the alleged “greenmailing”
of the Walt Disney Co. by Saul Steinberg. Marc Seltzer was one of the lead counsel for the class of
stockholders. The case was settled after three weeks of trial for approximately $60 million. See Heckmann
v. Ahmanson, [1989 Transfer Binder] Fed. Sec. L. Rep. ¶ 94, 447 (Cal. Sup. Ct. April 12, 1989) (order
denying summary judgment).
Financial Federation, Inc. v. Ashkenazy, in which Marc Seltzer and his co-trial counsel successfully
defended at trial an anti-takeover case brought by a financial institution in Los Angeles federal court under
the federal securities laws and the RICO statute against persons who allegedly sought to take control of
the institution. See Financial Federation, Inc. v. Ashkenazy, [1984 Transfer Binder] Fed. Sec. L. Rep.
(CCH) 91,489 (C.D. Cal. 1983).
Green v. Occidental Petroleum Corp., in which Marc Seltzer, together with co-counsel, represented
plaintiffs in consolidated securities fraud class action cases that established important precedent in the
Ninth Circuit regarding the certification of plaintiff classes and the computation of damages in securities
fraud cases. See Green v. Occidental Petroleum Corp., 541 F.2d 1335 (9th Cir. 1976). The case was
settled for $12 million.
Wool v. Tandem Computers, Inc., a securities fraud class action in which Marc Seltzer played a leading
role. One of the notable achievements in this case was a victory for the plaintiffs in the Ninth Circuit which
established important precedent concerning the measure of damages recoverable in federal securities
fraud class action cases, the standard for “controlling person” liability under the federal securities laws and
the requirements for pleading fraud with the particularity specified under Rule 9(b), Fed.R. Civ. P. See
Wool v. Tandem Computers, Inc., 818 F.2d 1433 (9th Cir. 1987). Following the issuance of the Ninth
Circuit’s decision, the case was settled for $16.5 million.
Plaine v. McCabe, a securities class action, in which Marc Seltzer argued before the Ninth Circuit, obtaining
a substantial victory for plaintiffs, and establishing significant precedent in the Ninth Circuit regarding the
standards for liability and remedies for violations of tender offer disclosure rules under the federal securities
laws. See Plaine v. McCabe, 797 F.2d 713 (9th Cir. 1986).

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Biben v. Card, consolidated securities fraud class actions where Marc Seltzer served as co-lead counsel for
plaintiffs. The plaintiffs achieved substantial pretrial victories, including establishing the validity of their
claims under the federal securities laws against the defendants in that case. See Biben v. Card,
[1984-1985 Transfer Binder] Fed. Sec. L. Rep. (CCH) 92,010 (W.D. Mo. 1985), on denial of motion for
reconsideration, [1984-1985 Transfer Binder] Fed. Sec. L. Rep. (CCH) 92,083 (W.D. Mo. 1985). The case
settled for approximately $12 million.
Sanwa Bank California v. Facciani, where Marc Seltzer was co-lead counsel for a plaintiff class in which
settlements totaling approximately $26 million in cash were obtained on behalf of defrauded investors who
were victimized by an alleged Ponzi scheme.
In re California Indirect-Purchaser Infant Formula Antitrust Class Action Litigation, comprised of several
consolidated consumer class actions brought for alleged price-fixing of infant formula products. Marc
Seltzer was appointed by the Court to serve as one of two co-lead counsel for plaintiffs and the class. The
case was settled for approximately $20 million.
Small v. Sunset Park, where Marc Seltzer was lead counsel for a class of investors involving an alleged
Ponzi scheme in which settlements totaling more than $16.8 million were achieved ($11.8 million net to the
class), including $12 million paid in settlement by a then “Big Five” accounting firm.
In re Applied Magnetics Corporation Securities Litigation, consolidated securities fraud class actions, filed
in Los Angeles federal court, where Marc Seltzer was appointed co-lead counsel for the class. Plaintiffs
successfully defended against defendants’ motion to dismiss plaintiffs’ consolidated complaint. See In re
Applied Magnetics Corp. Sec. Litig., [1994-1995 Transfer Binder] Fed. Sec. L. Rep. (CCH) ¶ 98,345 (C.D.
Cal. 1994). The case was subsequently settled.
Schneider v. Traweek, federal and state court securities fraud class actions in which Marc Seltzer served
as lead counsel for the plaintiffs. Significant victories were obtained on plaintiffs’ behalf in defeating motions
to dismiss and in obtaining class certification. See Schneider v. Traweek [1990 Transfer Binder] Fed. Sec.
L. Rep. (CCH) 95,419 and 95,505 (C.D. Cal. 1990). The case was settled for approximately $14 million,
$10.8 million net to the class.
Johnson v. Boston, where Marc Seltzer was co-lead counsel for a nationwide class of investors in
promissory notes victimized by an alleged Ponzi scheme. Approximately $20 million in settlements
were obtained for the defrauded investors.
Lilienthal v. Levi Strauss & Co., an individual minority shareholder’s action for alleged breach of fiduciary
duty by the majority owners, which resulted in a judgment after trial for the plaintiff providing for a recovery
in excess of $3 million. Plaintiff subsequently collected more than $2 million net of attorneys’ fees. Marc
Seltzer was co-trial counsel for the plaintiff with Jack Corinblit.




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           EXHIBIT 3
       to the Declaration
       of Marc M. Seltzer
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                                                                      Bet Your Business Litigation       pg. 2
                                                                      Selected Case Briefs               pg. 4
                                                                      Trial References                   pg. 7

                                                With the trial of a generation captivating the nation, ABC News needed an
                                                authority on the psychology of juries. Millions of viewers were following the
                                                O. J. Simpson murder trial, and ABC wanted to show America how jurors
                                                really decide cases. It tracked down a heralded Texas trial lawyer known for
                                                his use of mock trials, Bill Carmody, who was busy preparing a long-shot case
                                                for a fired employee of a large steel company. ABC
                                                filmed Bill’s presentation of the evidence to the mock
                                                jurors as well as their deliberations. The network used
                                                the footage...and so did Bill. He played ABC’s tape
                                                of the mock jury’s deliberations at an eleventh hour
bcarmody @ susmangodfrey.com                    mediation session – and his client walked away with a
                                                substantial settlement.
New York, NY tel: 212-336-8334
             fax: 212-336-8340                  In the decades since, Bill Carmody’s reputation has only grown. Today he is
    Admitted in New York and Texas              a nationally recognized trial lawyer who tries bet-the-company cases for
EDUCATION:                                      plaintiffs and defendants in state and federal courts throughout the country.
United States Merchant Marine Academy           He is a permanent member of Susman Godfrey’s Executive Committee and
Kings Point, N.Y. ( B.S. 1981)                  heads its New York office. Carmody is best known for stepping into big
The University of Tulsa College of Law          high-stakes trials shortly before they are set to begin and getting paid on
( J.D. with honors, 1988), Order of the
Curule Chair, TULSA LAW JOURNAL                 his results. He’s described as a storyteller with a “preternatural ability” to
Hall of Fame Inductee, The University of        connect with juries – and “someone whose core skill set is persuading a lay
Tulsa College of Law                            jury in a complex business case.” Click for press coverage.
Distinguished Alumni, The University of Tulsa
Trial Lawyers College (2000)
                                                                          RECENT WORK

n   In what’s been described as the “tech trial of the century” – the epic clash over self-
    driving car technology that pitted Google/Waymo against Uber – Bill stepped in
    shortly before trial to defend Uber. Although Waymo sought damages of almost $2
    billion, Bill and his team got all of Waymo’s experts’ damages opinions struck. After
    Bill’s public and private opening statements and the presentation of four days of
    evidence to a federal jury in San Francisco, this high-profile case ended in a favorable
    settlement. Benchmark Litigation awarded Bill and his team the National Impact
    Case of the Year for their work. Click for press coverage.
                                                                                 Uber attorney Bill Carmody (R) and Waymo attorney
                                                                             Charles Verhoeven (L) at the Phillip Burton Federal Building
                                                                                 after the trial ended in San Francisco. (Getty Images)


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 n   In one of the largest individual claims to be litigated this century, WeWork founder Adam Neumann
     turned to Bill Carmody as part of a multi-firm trial team after SoftBank withdrew its offer to buy up to
     $3 billion in WeWork stock from Mr. Neumann and other shareholders. The litigation was placed on an
     expedited schedule in the Delaware Chancery Court. Days before trial was set to begin, the case settled
     as reported by The New York Times and media outlets throughout the world. Click for press coverage.

 n   For General Electric, Bill successfully tried a contract case before a jury in the Southern District of New
     York, leading to a judgment in favor of GE worth more than $160 million. Click for press coverage.
 n   On behalf of a pharmaceutical industry whistleblower, Bill and his team prosecuted novel anti-kickback
     claims in the Novartis qui tam litigation that resulted in total settlements of $465 million – which for a
     case of its kind is the largest recovery ever. Click for press coverage.

 n   The City of Baltimore – whose citizens are more likely to die of an opioid overdose than those of nearly
     any other city in the country – retained Bill and recently filed suit to hold opioid manufacturers and
     distributors responsible for the harm they’ve done to the city. Click for press coverage.

 n   On behalf of some of California’s largest political subdivisions that claimed to be overcharged by
     the “Big 3” wireless carriers, Bill and his team recently secured settlements totaling $175 million.
     Click for press coverage.

 n   As co-lead counsel in the nationwide LIBOR antitrust litigation, for Yale University and a class of purchasers
     of LIBOR-based instruments, Bill and his team have led a fight through the United States Supreme Court
     to overcome Defendants’ motions to dismiss Plaintiffs’ price-fixing claims, certify a national litigation class,
     and secure settlements so far with 4 of the 16 Defendants for $590 million. Click for press coverage.

 n   Bill and his team won a summary judgment that was upheld on appeal in late 2017 by the New Jersey
     Supreme Court for Dan Loeb and his hedge fund Third Point in the Fairfax litigation, where plaintiffs
     sought damages of $8 billion. Click for press coverage.



                              B E T Y O U R B U S I N E S S L I T I G AT I O N

 Whether representing plaintiffs or defendants, Bill puts his
 money where his mouth is by betting on his ability to win for
 his clients. A pioneer in structuring success-based fee deals,
 he aligns his interests with those of his clients by making his
 fees dependent on the success he earns – and not on hours
 billed. Click for press coverage. It’s a creative approach to
 billing in a profession that doesn’t often stray outside the box.

 That’s never been a problem for Bill, whose bold and creative trial tactics have
 earned the respect of his peers, the media, and legal educators. He has been elected to Law360’s esteemed
 Trials Editorial Advisory Board in 2019, ‘20 and ‘21. Carmody previously taught Trial Advocacy at Southern
 Methodist University School of Law, and served on the law school’s Executive Board. Currently, he serves

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 on the Board of Trustees of The University of Tulsa. He is also a member of the American Board of Trial
 Advocates, a fellow of the Litigation Counsel of America, and a fellow of the American Bar Foundation.

 Carmody’s ranked in the Chambers USA Guide to America’s Leading Lawyers in three departments,
 including its ranking of Nationwide Trial Lawyers and General Commercial Litigation in New York.
 According to Chambers:

       “Clients call on Bill for big high-stakes matters. He's the real deal.”
     “Bill Carmody is on every client’s shortlist if there is a case to try... A leader, strategist and negotiator.
       If you want to win, you want Bill on your side.”

       Clients praise Carmody as a “born trial lawyer,” and highly rate his ability to “swoop into a
       complicated case, master it, and try it . . . He can turn complex legal matters into a telling story,
       and he then finds stories that resonate with the jury.”

 He is routinely included in Benchmark’s Top 100 Trial Lawyers. According to Benchmark, Carmody is a
 “universally recognized and nationally hired” trial lawyer, and here is how his peers describe him:

     “When you hire him, your metric should not just be ‘How much do I want to win?’ but more
      ‘How much can I afford to lose?’ If the answer is ‘I can’t,’ you should hire Bill.”

      “Of all the lawyers I’ve worked with in all my years, this guy [Carmody] was the best in every
       respect. As a trial lawyer he could do it all. He’s based in New York now but stylistically was
       absolutely ‘Texas hot!’ He is just in another league.”

 Carmody is listed in The Best Lawyers in America in six categories, including Bet-the-Company Litigation. Bill
 has been named to the National Law Journal’s lists of Elite Trial Lawyers and Plaintiffs’ Attorney
 Trailblazers. He is also listed in Who’s Who Legal in Commercial Litigation. His peers have voted him both
 a “New York Super Lawyer” and a “Texas Super Lawyer”, and he’s listed in The Legal 500, in addition to
 being selected among America’s Top 100 High Stakes Litigators by America’s Top 100. Carmody was honored
 by Law360 as one of its 10 Titans of the Plaintiffs Bar. He is also perennially listed in the Lawdragon 500,
 the guide to America’s leading 500 lawyers and was lauded as one of its 41 Legal Legends.

 Carmody was a top three finalist in 2018 for the New York Law Journal’s Attorney of the Year. In 2019
 Lawdragon selected Bill as one of its Leading Plaintiff Financial Lawyers and The National Law Journal
 selected him as one of its Masters of the Courtroom - Winning Litigators. In 2021, Benchmark placed Bill
 on its shortlist – of six lawyers – for Trial Lawyer of the Year.

 Carmody appears frequently in national and international media, and his trials have been featured in
 hundreds of publications, including The New York Times, The Wall Street Journal, The Washington Post,
 The Financial Times, the San Francisco Chronicle, Business Week, Bloomberg, The National Law Journal,
 Texas Lawyer, and The American Lawyer. He has been profiled by Lawdragon in its “Producers” series, by
 Law 360 for its “Trial Pro” series, and by Forbes. While his trial tactics and betting on his clients’ results have
 received widespread acclaim, most important to Bill and his clients are the victories earned in the court-
 room – and following are just a few.




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                                   SELECTED CASE BRIEFS



                                         Dare To Be Different

                                         In a huge defense victory, Bill orchestrated events outside the
    “I’ve dealt with lots of
                                         lawsuit to defeat a local hero in his hometown court. Carmody’s
       trial lawyers and, by             client, a Dallas investment brokerage, got sued for over $50 million.
       far, Bill Carmody is              businessman who had sued Bill’s client in his “small pond,” the
   the best I’ve ever seen.”             little town of Rockport, Texas.

                                         The case stood second on the trial docket. If the first case went as
set, Carmody’s case would be bumped for months. A postponement could have cost the brokerage an
advantage it had gained during discovery: Although Bill had deposed all of the opponent’s experts, he
had shielded his client’s key expert from deposition. So, the opposition was ill prepared for the expert’s
trial testimony. If the case was reset, the opposition would be able to depose the expert and erase their
disadvantage.

To prevent this, Bill took the unprecedented step of brokering a deal in which his client funded a $180,000
settlement of the first case on the docket. This enabled Carmody’s case to be tried while his client still had
the edge. Bill did go to trial and won a resounding take-nothing judgment – and jury debriefing confirmed
the deciding role of the key expert’s testimony. Bill’s client also won a counterclaim of almost $700,000.

Despite the plaintiff’s vigorous attempts to overturn the take-
nothing judgment, this remarkable victory withstood appellate
scrutiny; it was affirmed by both the Corpus Christi Court of
Appeals and the Texas Supreme Court. Wowed with Carmody’s
results throughout the trial and appellate process, the company’s
CEO remarked: “I’ve dealt with lots of trial lawyers and, by far,
Bill Carmody is the best I’ve ever seen.” Bill Woodruff, CEO,
Wm. K. Woodruff and Co., Dallas, Texas.



For media coverage of the brokered settlement, see National Law Journal, February 2, 1998, “Two Texas Litigators
Leapfrog to Trial Win.”




                                                       4
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                                           David Beats Goliath


By uncovering evidence of commercial fraud, Bill helped a small con-
tractor conquer a multi-national conglomerate. This “David v. Goliath”           “Any firm can
scenario pitted Carmody’s plaintiff client against one of the world’s             supply lots of
largest oil companies. The case centered around the defendant’s refusal           bodies. I’d rather
to pay for refinery construction work performed by the plaintiff in El            have just one brain
Paso. But Bill capitalized on then-favorable venue rules to hold the case
                                                                                  like Bill Carmody’s.”
more than 800 miles away, in Beaumont – where the oil company had
recently laid off hundreds of workers.

The case was originally viewed only as a million-dollar breach of contract claim; however, Carmody identified
a wholly different type of claim that his client’s previous lawyers had missed. It capitalized on the oil
company’s most vulnerable conduct – its reckless disregard for worker safety. The argument was novel: The
defendant’s false assurances of safe working conditions inside crude oil towers constituted fraudulent
misrepresentations. While the damages of the workers who suffered illnesses were obvious, much less
                                              obvious was his client’s fraud damages,in the form of increased
                                              workers compensation premiums. After an arduous 2-month
                                              trial – featuring a paperless, multi-media presentation, complete
                                              with an in-court full-size model of a quarter section of a crude
                                              oil tower – the jury found that the oil company committed fraud
                                              and awarded Bill’s client over $61 million.

                                              To cash in on this big verdict, Bill quickly negotiated a substantial
                                              confidential settlement on behalf of his client. The client’s
                                              reaction to this happy ending? “Any firm can supply lots of
                                              bodies. I’d rather have just one brain like Bill Carmody’s.”
                                              Jerry Strickland, CEO, AltairStrickland, Inc., Houston, Texas.


See, National Law Journal, February 10, 1997, “The Big Numbers of 1996” and Dallas Business Journal, January 17-23,
1997, “Carmody Firm May be Tiny, but Judgment was Mighty.”




                                                        5
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                                              Eleventh Hour Save


                                 In a perfect world, a lawyer would always have unlimited time and resources
    “It’s never too
                                 to prepare for trial. But the world is not perfect and, often, time is not on your
   late to bring in
                                 side. In a case where he suited up for the defense, Carmody demonstrated
     Bill Carmody.”              the experience and guts required to take over and win big at the eleventh hour.

 The case arose when a life insurance company was sued in a class action case by 25,000 of its policyholders.
 The plaintiff class alleged that the insurer had breached the terms of its policies, causing the plaintiffs to
 be overcharged for their insurance. The class sought $108 million in damages. In this bet-your-company
 case, a loss could have wiped out the company’s net worth – and forced a shutdown.

 The case had been pending for five years, as the insurance company was represented by a large, full-
 service law firm. But with the make-or-break trial looming, the insurance company decided it needed a
 proven trial lawyer – someone who made his reputation in the courtroom.

 So, just 6 days before trial, the insurer asked Carmody to try the case.
 Carmody quickly learned the case cold, devised the trial strategy, and
 presented the case during an eight-day jury trial. The jury promptly and
 unanimously delivered a complete defense verdict – and the case was
 dismissed. Given a new lease on life, the company heaved a sigh of
 relief and its General Counsel praised Carmody’s command: “Just six
 days before trial, most lawyers would have refused to take the
 case. But Bill Carmody thought of, and seized upon, every tactical
 advantage. Bill was a clutch performer winning us an incredible trial
 victory.” Bryan R. Newcombe, General Counsel, Legal & General
 America, Inc., Rockville, Maryland.


 See, The American Lawyer, Sept. 2007, Big Suits, “Beller et al. v. William Penn.”




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                                                                             TRIAL REFERENCES
   It’s one thing just to read about the way Bill Carmody tries a case. But the best proof of his unique
   approach comes from talking to people who have actually seen Carmody at work. The following
   people are clients who have hired Carmody to represent them, lawyers who tried a case with or
   against him, and judges who presided over one of Carmody’s trials. All are willing to speak with you
   about Bill Carmody’s prowess in the courtroom.

                                                                                                        Clients
                          Brad Berenson General Counsel TPG San Francisco, CA 415-743-6363
                          Richard Heyman CEO Seragon Pharmaceuticals San Diego, CA 858-735-4581
                          Avi Katz Pres./Gen. Counsel Loral Space & Communications New York, NY 212-697-1105
                          Chris Moore General Counsel Angelo Gordon New York, NY 212-962-2009
                          Robert Mnuchin CEO Mnuchin Gallery New York, NY 212-861-6269
                          Bryan Newcombe Gen. Counsel Legal & General America Rockville, MD 301-294-6968
                          Josh Targoff General Counsel Third Point LLC New York, NY 212-715-3403
                                                                                                    Co-counsel
                          Daryl Barger Hartline, Dacus, Barger, Dreyer & Kern Corpus Christi, TX 361-866-8009
                          Mike Carlinsky Quinn Emanuel New York, NY 212-849-7000
                          Matthew Dontzin Dontzin, Nagy & Fleissig New York, NY 212-717-2900
                          Karen Dunn Boies Schiller Flexner Washington, DC 202-895-5235
                          Gordon Shapiro Jackson Walker Dallas, Texas 214-953-6059
                          Johnny Ward Ward & Smith Longview, Texas 903-935-3868
                                                                                             Opposing Counsel
                          Trent Bausch Cline Williams Omaha, Nebraska 402-397-1700
                          David Beck Beck, Redden & Secrest Houston, Texas 713-951-3700
                          Josh Dubin Dubin Law New York, New York 212-219-1469
                          Barry McNeil Haynes and Boone Dallas, Texas 214-651-5000
                          Paul Saunders Cravath, Swaine & Moore New York, New York 212-474-1404
                          Orin Synder Gibson Dunn New York, New York 212-351-2400
                          Jeffrey Tillotson Tillotson Law Firm Dallas, Texas 214-382-3040
                          Charles Verhoeven Quinn Emanuel San Francisco, California 415-875-6600
                                                                                                        Judges
                          Hon. William Alsup U.S. District Court San Francisco, California 415-522-2020
                          Hon. Sidney Fitzwater U.S. District Court                                            Dallas, Texas 214-753-2333
                          Hon. David Godbey U.S. District Court Dallas, Texas 214-753-2700
                          Hon. Marilyn Huff U.S. District Court San Diego, California 619-557-6016
                          Hon. William J. Monahan Santa Clara Superior Court San Jose, CA 408-882-2270
                          Hon. Lorna G. Schofield U.S. District Court New York, New York 212-805-0288
                          Hon. Ira Warshawsky Supreme Court, Comm. Div. Nassau Co., New York 516-571-3351

 †Bill has been listed in Lawdragon 500 (Lawdragon Lawyer Profiles and Legal News) since its inception in 2003. Super Lawyers are published in Law & Politics Magazine by Thomson Reuters. Bill was a Texas Super
 Lawyer from 2003 to 2006 and a New York Super Lawyer from 2008 through 2018. Bill has been listed in The Best Lawyers in America (published by Woodward White Inc.) since 2004.
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 - Not certified by Texas Board of Legal Specialization.
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           EXHIBIT 4
       to the Declaration
       of Marc M. Seltzer
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                   Arun Subramanian
                   Partner, Pro Bono Chair
                   New York
                   (212) 471-8346
                   asubramanian@susmangodfrey.com



Overview
Arun is a partner at Susman Godfrey; a member of the firm’s Executive Committee; a former law clerk to
three Federal judges, including Justice Ruth Bader Ginsburg; and has been appointed by the Chief Justice of
the United States to serve on the Advisory Committee for the Federal Rules of Evidence.



   “His intellectual horsepower is rivaled by few. He can take in information, analyze it very
   quickly and come up with a solution quicker than anyone.”
   As quoted in Chambers USA NY Commercial Litigation, 2022



Arun has tried and arbitrated high-stakes cases on both sides of the “v,” and has successfully recovered over
a billion dollars for public and private entities who were the victims of fraud and other illegal conduct. Arun’s
expertise isn’t limited to any practice area. He has taken up the cause of public entities and whistleblowers in
False Claims Act cases, victims of trafficking in child pornography, consumers and individuals injured by
unfair and illegal practices, and has for over a decade focused on complex commercial litigation, including
antitrust, patent infringement, and breach of contract cases.



   “[Arun is] an ‘agile thinker’ with the ability to ‘master complex problems and distill them to their
   essence in writing and presentation to the court’”
   Assured Guaranty General Counsel and Managing Director, Ed Newman



Arun has been actively involved in a variety of landmark matters for Susman Godfrey. No matter the arena,
Arun has a proven track record of success. This includes:

  Securing over $400 million for state and federal governmental entities in United States ex rel. Kester v.
  Novartis Pharmaceuticals Corp. Working collaboratively with state and federal enforcement agencies, Arun
  and his team at SG have recovered over $600 million for the public fisc in the False Claims Act arena.
  Recovering $590 million in settlements in the ongoing LIBOR price-fixing class action. Susman Godfrey, as
  co-lead counsel to the OTC plaintiffs, won class certification on behalf of the class and continues to pursue
  relief against the global banks alleged to have conspired to fix the “LIBOR” financial benchmark.
  Achieving a complete jury victory in Tyler, Texas as co-lead counsel on behalf of defendant Globus Medical
  in a spinal insert patent infringement suit brought by Flexuspine, a local Tyler company.

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  Securing a trailblazing judgment victory of over $100 million for client Assured Guaranty against Flagstar
  Bank in one of the first trials concerning repurchases of faulty RMBS—a significant milestone in forcing
  banks to honor contractual commitments made which they sought to avoid after the financial crisis.



   “He’s able to get right to the heart of the matter quickly. He is super thoughtful and articulate,
   has an amazing skill set, and is very tough when he has to be”
   Client quote in Chambers USA NY Commercial Litigation, 2021



Arun also focuses on briefing and arguing appeals in both state and federal court, including securing
important rulings on emotional distress claims under New York law, the validity of inventors’ patents under
Section 101 of Patent Act, prisoners’ rights under the Fourth and Eighth Amendments, and unjust enrichment
claims arising under New York law. Most recently, Arun was counsel of record for the respondents before the
Supreme Court in Ninth Inning v. NFL, where the Court rejected the NFL and DirecTV’s bid for certiorari,
leaving in place the Ninth Circuit’s decision upholding antitrust claims asserted by a nationwide class of
“Sunday Ticket” consumers. You can read Arun’s brief in opposition to the petition for certiorari here.



   “He had a really good handle on reading the judges and he also has a very deep understanding
   of the law.”
   Client quote in Chambers USA NY Commercial Litigation, 2018



Outside of the courtroom, Arun contributes to the legal community by taking on pro bono cases and has for
years served on the pro bono panel for the United States Court of Appeals for the Second Circuit. Arun
serves as Chairperson of Susman Godfrey’s 2022 Pro Bono Committee and is also a longtime Director of the
Columbia Law Review, one of the Nation’s pre-eminent legal journals. You can read Arun’s recent piece for
the Review, honoring the career and legacy of the late Justice Ginsburg, here: “A Titan Among Us: On
Dissents, Waymaking, and Strong Coffee.” Arun was recently named a member of the Development
Committee for The Appellate Project, an organization that provides opportunities for minority lawyers and law
students in the field of appellate law.



   “Arun Subramanian is praised by clients for his ‘strategic thinking, legal expertise and client
   communications.’ He acts for both plaintiffs and defendants in large-scale disputes, including
   antitrust, breach of contract and healthcare mandates.”
   As quoted in Chambers USA NY Commercial Litigation, 2020




Education
  Columbia Law School, J.D., 2004; Executive Articles Editor, Columbia Law Review; James Kent & Harlan
  Fiske Stone Scholar
  Case Western Reserve University, B.A., Computer Science & English, 2001: summa cum laude




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Clerkship
 Honorable Ruth Bader Ginsburg, Supreme Court of the United States
 Honorable Gerard Lynch, United States District Court for the Southern District of New York
 Honorable Dennis Jacobs, United States Court of Appeals for the Second Circuit



Notable Representations
WHISTLEBLOWER & FALSE CLAIM ACT LITIGATION

 State of California ex rel. On the Go Wireless v. CELLCO Partnership et al. Served as counsel to a
 whistleblower and numerous political subdivisions in California—including the University of California
 system, the California State University System, and the City of Sacramento—in a ground-breaking False
 Claims Act lawsuit against wireless carriers AT&T, Sprint, Verizon, and T-Mobile. The whistleblower alleged
 that the carriers fraudulently overbilled the government for wireless services by failing to provide
 contractually required “lowest cost available” service by means of “optimization reports.” We secured record
 settlements with the four telecommunication giants valued at $174 million for the government plaintiffs in
 California and Nevada.
 United States ex rel. Kester v. Novartis Pharmaceuticals Corp. Working collaboratively with the United
 States Attorney’s Office for the Southern District of New York and several state attorneys general, secured
 over $400 million in settlements for state and federal governmental entities in a case alleging Novartis
 defrauded the Medicare and Medicaid programs by illegally paying kickbacks to pharmacies so that they
 would recommend Novartis drugs to doctors and patients. The recovery was the largest of its kind for the
 type of pharmacy kickback scheme involved in the case.
 United States of America ex rel. Martinez v. Apria Healthcare Group. Representing three
 whistleblowers and working with the United States Attorney’s Office for the Southern District of New York,
 secured a $40.5 million settlement in a False Claims Act case from Apria Healthcare Group, Inc. and its
 affiliate, Apria Healthcare LLC (Apria). Arun and a team from SG represented qui tam whistleblowers who
 alleged that Apria continually charged federal health programs, including Medicare and Medicaid, for
 rentals of non-invasive medical ventilators that were not being used by patients, or that were being used in
 a therapy mode that did not qualify for the billing codes used. After investigating the relators’ allegations,
 the United States government intervened in the case and filed its own complaint, which closely tracked the
 allegations first made by the firm’s clients.

REGULATORY AND BANKING

 In re: Libor-Based Financial Instruments Antitrust Litigation. Representing the City of Baltimore, Yale
 University, and other public and private entities damaged by the fixing of LIBOR, a global financial
 benchmark and “the world’s most important number,” Arun and SG have secured $590 million in
 settlements to date as co-lead counsel for the over-the-counter direct purchaser class, which was the only
 class certified by the District Court in 2018. The case is proceeding against the non-settling banks in the
 Southern District of New York.
 Assured Guaranty Municipal Corp v Flagstar Bank. As counsel to Assured Guaranty, Arun and SG
 secured a judgment valued at $90 million plus contractual interest and attorneys’ fees and costs in a case
 involving breach of contract by the originator and sponsor of residential mortgage-backed securities. This
 amount was substantially all of the damages sought by Assured Guaranty in the first case of its kind to go
 to trial. The ruling was a significant milestone in forcing the banks to honor the contractual commitments
 they made and had long sought to avoid after the financial crisis.



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INTELLECTUAL PROPERTY

 Flexuspine Inc. v. Globus Medical Inc. Represented Globus Medical in spinal insert patent infringement
 litigation brought by Flexuspine, Inc., a local Tyler company. After SG secured the grant of summary
 judgment on one of Flexuspine’s patents, and after a week-long trial in Tyler, a jury in the U.S. District
 Court for the Eastern District of Texas issued a take-nothing verdict in Globus Medical’s favor.
 BASCOM v. AT&T Corp. Served as lead counsel to client Bascom Global Internet Services in a patent
 infringement case against AT&T. The District Court, following developing Supreme Court and Federal
 Circuit caselaw under 35 U.S.C. §101 dismissed the case. Arun argued the appeal of the District Court’s
 ruling before the Federal Circuit, which overturned the lower court’s decision. This is one of the first cases
 to uphold a software patent under the Supreme Court’s Alice decision after a string of losses doled out to
 plaintiffs by the appellate court.

PROTECTING THE RIGHTS OF CONSUMERS, EMPLOYEES, AND THE PUBLIC

 Jane Doe v. MindGeek USA Incorporated et al. Arun and partners Krysta Kauble Pachman and Davida
 Brook recently filed and are prosecuting a class action on behalf of victims of trafficking in child
 pornography against PornHub and its parent company, MindGeek. The case alleges that the defendants
 violated federal sex trafficking and child pornography laws by knowingly posting, enabling the posting of
 and profiting from thousands of pornographic videos featuring persons under the age of 18.
 Jane Doe v. Reddit, Inc. Currently prosecuting a class action on behalf of victims against Reddit, Inc. for
 violation of federal sex trafficking laws and California’s child pornography laws. Plaintiffs allege that Reddit
 facilitates sex trafficking and the distribution of child pornography on its site by targeting individuals who are
 seeking access to child pornography, failing to appropriately moderate its subreddits, and failing to take
 action in response to victims who have notified Reddit of the presence of child pornography.
 Rich v. Fox News. Represented Joel and Mary Rich, the parents of Seth Rich, in a groundbreaking lawsuit
 against Fox News and its collaborators for intentional infliction of emotional distress and related torts
 stemming from Fox’s news coverage concerning Seth Rich’s murder. The case was initially dismissed by
 the District Court. Arun argued the case before the United States Court of Appeals for the Second Circuit,
 and the court reversed the district court’s dismissal of the Riches’ claims. The case subsequently settled on
 confidential terms. You can read the New York Times’ coverage of the case here.
 FASORP v. New York University and the NYU Law Review. Defending New York University and the
 NYU Law Review’s efforts to foster diversity in its faculty and on the NYU Law Review against challenges
 under Title VI and Title IX. Susman Godfrey won a motion to dismiss all of the claims against NYU and the
 Law Review, and won the case at the Second Circuit on appeal. You can read the District Court’s order
 here and more about the decision here, here,* and here*. (*subscription required).
 Avi Dorfman v. Compass Represented Avi Dorfman in a co-founder dispute against real estate brokerage
 Compass. After Arun argued and beat back Compass’s bid for summary judgment both in the trial court
 and on appeal, the parties settled on confidential terms, with Compass acknowledging Dorfman’s role as a
 founding team member.
 City of Baltimore Opioid Litigation. Representing the Mayor and City Council of Baltimore in fraud and
 public tort litigation against the manufacturers and distributors of opioids, whose conduct has devastated
 cities, counties, and states nationwide. Baltimore’s case is currently pending in the Circuit Court of
 Baltimore City.
 Mittal v. Investment Technology Group Inc. After a multi-day arbitration, won an award totaling millions
 of dollars for Hitesh Mittal, the former head of head of liquidity management at Investment Technology
 Group Inc (ITG), before the Financial Industry Regulatory Authority. Mittal, a former ITG employee, claimed
 that the brokerage wrongly implicated him in a regulatory probe that he says led to his termination from
 hedge fund AQR Capital Management. Read more about the win in Bloomberg here.
 In re: NYC Bus Tour Antitrust Litigation. SG was appointed lead counsel for consumers who had been
 overcharged for “hop on, hop off” bus rides in New York City for years, based on a horizontal agreement to


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 fix prices between the two largest providers of bus rides in the city, Coach USA and City Sights. These
 competitors formed a joint venture accounting for 99% of New York City’s hop-on, hop-off sightseeing bus
 tours. Arun and his team secured millions of dollars in recoveries for the consumer class and worked
 collaboratively with the New York Attorney General’s office and Department of Justice in pursuing relief
 against the Defendants.
 Clark v. AdvanceMe. Inc. Represented merchants, including restaurant owners, in a class action brought
 in Los Angeles federal court challenging AdvanceMe’s “cash advance” lending program under California’s
 laws against usury. The case was successfully settled for millions of dollars in cash, forgiven debt and other
 consideration to members of the class.
 Ileana D. Platt & Rafael Urquidi v. Barclays Capital Inc. Prevailed on behalf of clients Ileana Platt and
 Rafael Urquidi against claims by Barclays Capital that the bank was entitled to recover $4 million in
 bonuses paid to the two former brokers. Hundreds of note collection cases are litigated every year that
 result in banks being awarded a full recovery, but for the second time in three years, Susman Godfrey
 successfully defeated the claims before the FINRA panel.
 Harris v. Fischer. Appointed by the Second Circuit to represent Audra Lynn Harris on her appeal of the
 dismissal of claims that her Fourth and Eighth Amendment rights were violated during a body cavity search
 while she was incarcerated. Arun successfully briefed and argued the case before the Second Circuit,
 securing a vacatur of the District Court’s dismissal and remand for further proceedings. Arun continued his
 representation of Ms. Harris on remand and after depositions of the corrections officers involved in the
 search, the case was settled on confidential terms.
 Plavin v. GHI. Leading a putative class action brought by a retired NYPD officer on behalf of hundreds of
 thousands of New York City police officers, front-line workers, and other employees and retirees against
 Group Health Incorporated (GHI), challenging GHI’s improper out-of-network benefits policies and
 misleading disclosures concerning the scope of coverage under GHI’s health plans. The New York Court of
 Appeals affirmed the “consumer oriented” nature of the misleading statements alleged in the complaint and
 the Third Circuit subsequently confirmed the sufficiency of the Plaintiffs’ complaint. The case is proceeding
 in District Court.

BREACH OF CONTRACT

 Saba Capital CEF Opportunities v. Voya Prime Rate Trust. After a hearing in Arizona state court, Arun
 and a team from SG secured a preliminary injunction for Saba Capital that precluded a closed-end fund, its
 trustees, and its investment advisor from attempting to entrench themselves by enforcing a anti-voting
 bylaw that was enacted during a shareholder proxy contest and would prevent a free and fair vote of
 shareholders in the fund to choose the fund’s managers.
 Wade Emory Johnson v. Transparent Value, LLC. Achieved a total victory for client Wade Emory
 Johnson in a “David v. Goliath” breach of contract arbitration against Transparent Value, LLC, a subsidiary
 of global bank Guggenheim Partners. After a four-day hearing, the AAA arbitration panel awarded Johnson
 damages and securities worth millions of dollars (net of attorneys’ fees and expenses). The award was
 subsequently confirmed in full by the New York State Supreme Court.
 Neumann et al. v. SoftBank. SG represented Adam Neumann—founder of WeWork—in litigation in
 Delaware Chancery Court concerning SoftBank’s efforts to terminate a $3 Billion tender offer owed to
 WeWork’s shareholders, including thousands of its employees, under the terms of the governing “Master
 Transaction Agreement.” The case settled on confidential terms just weeks before trial was set to
 commence.
 GenOn Energy, Inc. v. NRG Retail LLC. Successfully represented GenOn Energy, Inc. in a multi-million-
 dollar breach of contract action against NRG Retail, LLC filed in New York Supreme Court. The case was
 settled on confidential terms shortly after Arun filed a pre-discovery motion for summary judgment against
 NRG.




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Honors and Distinctions
  Leading Litigator in Commercial Litigation, Chambers USA (2020, 2021, 2022)
  500 Leading Lawyers in the US, Lawdragon (2020, 2021, 2022)
  500 Leading Plaintiff Financial Lawyers List, Lawdragon (2019, 2020, 2021, 2022)
  Recommended Practitioner, Dispute Resolution—General Commercial Disputes, Legal 500 (2017-2021)
  Super Lawyer, New York Super Lawyers (2020, 2021, Thomson Reuters)
  Rising Star, New York Super Lawyers (2014-2019, Thomson Reuters)
  Up & Coming Lawyer – General Commercial Litigation, Chambers USA, (2016 – 2018)
  Future Star, Benchmark Litigation (2022, Euromoney)
  Under 40 Hot List, Benchmark Litigation (2016, 2017, 2018, Euromoney)
  Rising Star, New York Law Journal (2018, ALM)
  Rising Star – Bankruptcy Litigation, Euromoney Legal Media (2018)
  Leading Patent Practitioner, International Asset Management Patent 1000 (2018)
  Outstanding Service to the Legal Aid Society (2016, 2018)
  Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust Institute, for work
  on In re: Municipal Derivatives Antitrust Litigation (2016)



Articles
  “A Titan Among Us: On Dissents, Waymaking, and Strong Coffee.” Columbia Law Review (2021)
  “Clerking For Ginsburg: How To Play The Long Game,” Law360 (2018)
  “Winning on the Road,” The Corporate Counselor (ALM, 2016)
  “Will the Supreme Court Weigh in on Claim Construction Appeals?” IPWatchdog (2014)
  “Assessing the Rights of IRU Holders in Uncertain Times,” 103 L. Rev. 2094 (2003)



Professional Associations and Memberships
COURT ADMISSIONS

  New York State Bar
  United States District Court for the Eastern and Southern Districts of New York, the Eastern and Western
  Districts of Texas, and the Eastern District of Michigan
  United States Court of Appeals for the Second, Third, Sixth, Ninth and Federal Circuits
  Supreme Court of the United States

PROFESSIONAL ASSOCIATIONS

  Member of the Advisory Committee for the Federal Rules of Evidence
  Board of Directors, The Columbia Law Review Association, Inc.
  Board of Directors, Fund for Modern Courts


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Member of the Advisory Council, The Sonia & Celina Sotomayor Judicial Internship Program
Member of the Development Committee, The Appellate Project
Fellow, American Bar Foundation




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           EXHIBIT 5
       to the Declaration
       of Marc M. Seltzer
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                                    #:10324




                   Seth Ard
                   Partner
                   New York
                   (212) 471-8354
                   sard@susmangodfrey.com



Overview
Seth Ard, a partner in Susman Godfrey’s New York office and a member of the firm’s Executive Committee,
has secured substantial litigation victories for both plaintiffs and defendants. For plaintiffs, Ard was co-lead
counsel for a certified class of insurance policy owners, helping them achieve what the Court in the Southern
District of New York described as “the best settlement pound for pound for the class that I’ve ever seen.” For
defendants, Ard has obtained take-nothing judgments for NASDAQ and Dorfman Pacific in contract and
intellectual property actions seeking tens of millions of dollars. Since 2019, Mr. Ard has been named one of
the country’s Leading Plaintiff Financial Lawyers by Lawdragon.

Before joining the firm, Mr. Ard clerked for the Honorable Shira A. Scheindlin of the United States District
Court for the Southern District of New York, and for the Honorable Rosemary S. Pooler of the United States
Court of Appeals for the Second Circuit. Mr. Ard graduated magna cum laude from Harvard Law School and
completed his undergraduate work first in his class with a perfect GPA from Michigan State University, with
dual degrees in philosophy and French literature. For the past three years, Ard has been recognized as a
“Rising Star” in New York by Super Lawyers magazine.



Education
  Michigan State University, first in class, highest honors (B.A., Philosophy & French Literature, 1997)
  Northwestern University (M.A., A.B.D., Philosophy, 2003)
  Harvard Law School, magna cum laude (J.D. 2007)



Clerkship
Law Clerk to the Honorable Shira A. Scheindlin, United States District Court for the Southern District of New
York, 2008-2009

Law Clerk to the Honorable Rosemary S. Pooler, United States Court of Appeals for the Second Circuit,
2007-2008



Honors and Distinctions
  Recognized on Lawdragon 500’s 2019 list of the country’s Leading Plaintiff Financial Lawyers (2019, 2020,
  2021 2022)

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  2013-2015 listings of Super Lawyers “Rising Stars” in New York (Law & Politics Magazine, Thomson
  Reuters)
  Teaching and Research Assistant for Professor Arthur Miller (Harvard Law School)
  Teaching Assistant for Professor Jon Hanson (Harvard Law School)
  Editorial Board, Harvard Civil Rights/Civil Liberties Law Review



Professional Associations and Memberships
State of New York



Notable Representations
In re LIBOR-Based Financial Instruments Litigation (SDNY) Along with Bill Carmody, Marc Seltzer, and
Arun Subramanian, Ard serves as co-lead counsel for the class of over-the-counter purchasers of LIBOR-
based instruments, directly representing Yale University and the Mayor and City Council of Baltimore as
named plaintiffs. We reached a $120 million settlement with Barclays, and pursue claims against the rest of
the 16 LIBOR panel banks.

In re Municipal Derivatives Litigation (SDNY) Along with Bill Carmody and Marc Seltzer, Ard serves as co-
lead counsel to a class of municipalities suing 10 large banks and broker for rigging municipal auctions. On
behalf of the class and class counsel, Ard argued final approval and fee application motions approving cash
settlements in excess of $100 million, as well as several key discovery motions against defendants and the
DOJ that paved the way for those settlements.

Fleisher et al. v. Phoenix Life Insurance Company (SDNY) Along with Steven Sklaver and Frances Lewis,
Ard served as class counsel in a seminal action challenging 2 cost of insurance increases by Pheonix. After
winning class certification and defeating two motions for class decertification and a motion for summary
judgment, the case settled the day of the final Pretrial Conference in a settlement valued by the Court at over
$140 million. Judge Colleen McMahon praised Susman Godfrey’s settlement of the case as “an excellent,
excellent result for the class,” which “may be the best settlement pound for pound for the class that I’ve ever
seen.”

Globus Medical v. Bonutti Skeletal (EDPA) Along with Jacob Buchdahl and Arun Subramanian, Ard
represents defendant Bonutti Skeletal in patent litigation brought by Globus Medical. Ard successfully
argued a partial motion to dismiss the patent complaint, defeating claims of indirect infringement, vicarious
liability and punitive damages.

Sentius v. Microsoft (NDCA) Along with Max Tribble and Vineet Bhatia, Ard represented plaintiff Sentius in a
patent infringement suit against Microsoft. A few weeks before trial, Ard successfully argued a Daubert
motion that sought to exclude plaintiff’s survey expert. The case settled on highly favorable terms within 24
hours of that motion being denied. Previously, Ard had successfully argued an early summary judgment
motion and supplemental claim construction, both of which would have gutted plaintiff’s claims.

Jefferies v. NASDAQ Arbitration (New York) Along with Steve Susman and Steve Morrissey, Ard
represented NASDAQ and its affiliate IDCG in an arbitration in New York. The plaintiff, Jefferies & Co., sought
tens of millions of dollars in damages based on a claim that it was fraudulently induced to clear interest rate
swaps through the IDCG clearinghouse. After a one week arbitration trial in the fall of 2012, at which Ard put
on NASDAQ’s expert and crossed Jefferies’ expert, the Panel issued a decision in January 2013 denying all
of Jefferies’ claims and awarding no damages. The arbitrators were former Judge Layn Phillips, Judge
Vaughn R. Walker, and Judge Abraham D. Sofaer.

GMA v. Dorfman Pacific (SDNY) Along with Bill Carmody and Jacob Buchdahl, Ard obtained a complete
defense victory on summary judgment in a trademark infringement dispute before Judge Forrest in SDNY.

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We were hired after the close of discovery and after our client had suffered significant discovery sanctions
that threatened to undermine its defense. We were able to overturn those sanctions, reopen discovery and
obtain key admissions during a deposition of Plaintiff’s CEO, and win on summary judgment (without
argument and based on briefing done by Ard).

Washington Mutual Bankruptcy (Bkrtcy. Del.) Along with Parker Folse, Edgar Sargent, and Justin Nelson,
Ard represented the Official Committee of Equity Holders in Washington Mutual, Inc. at two trials contesting
$7 billion reorganization plans that would have wiped out shareholders stemming from the largest bank failure
in American financial history. Both plans were supported by the debtor and all major creditors. After the first
trial, at which Ard put on the Equity Committee’s expert and crossed the debtor’s expert, the Judge denied the
plan of reorganization. The debtors and creditors negotiated a new reorganization plan that again would have
wiped out shareholders. After the second trial, at which Ard put on the Equity Committee’s expert, crossed
the debtor’s expert, and conducted a full-day cross examination of hedge fund Appaloosa Management that
held over $1 billion in creditor claims and that was accused of insider trading, the Court again denied the plan
of reorganization, finding that the Equity Committee stated a viable claim of insider trading against the hedge
funds. The Equity Committee then negotiated with the debtor and certain key creditors a resolution that
provided shareholders with 95 percent of the post-bankruptcy WaMu plus other assets in a package worth
hundreds of millions of dollars – an outstanding result especially given that when we were appointed counsel,
the debtor tried to disband the equity committee on the ground that equity was “hopelessly out of the money”
without any chance of recovery.

Lincoln Life v. LPC Holdings (Supreme Court Onandaga, New York) Along with Steven Sklaver and Arun
Subramanian, Ard represented an insurance trust in STOLI litigation against an insurance company seeking
to rescind a life insurance policy with a face value of $20 million. After Ard argued and won a hotly contested
motion to compel in which the Court threatened to revoke the pro hoc license of opposing counsel, Lincoln
settled the case on very favorable terms.




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                    Ian Gore
                    Partner
                    Seattle
                    (206) 505-3841
                    igore@susmangodfrey.com



Overview
Ian Gore represents both plaintiffs and defendants in high-stakes litigation in federal and state courts across
the United States. Ian has been recognized with the American Antitrust Institute’s Outstanding Antitrust
Litigation Achievement by a Young Lawyer Award and was a part of the Susman Godfrey team recognized by
Benchmark Litigation’s National Impact Case of the Year . He was also recognized as a Rising Star of the
Plaintiffs Bar by National Law Journal’s Elite Trial Lawyers series (2022, ALM).

Ian’s practice covers a variety of practice areas, including antitrust and competition, commercial disputes,
intellectual property, product liability, and energy disputes. On the plaintiffs’ side, Ian has recovered nearly
$200 million for his clients. For defendants, Ian has successfully defended clients against billions of dollars of
potential exposure.

Some of Ian’s significant matters include:

ANTITRUST & COMPETITION

  In re National Football League’s “Sunday Ticket” Antitrust Litigation (C.D. Cal.). Ian plays a leading
  role in the team appointed by the Court to serve as co-lead counsel for the plaintiffs in this multidistrict class
  action case. In this case that has the potential to impact sports broadcasting, plaintiffs challenge the
  structure behind Sunday Ticket, including the elimination of competition among the NFL’s teams and the
  NFL’s decision to offer Sunday Ticket to DIRECTV on an exclusive basis. Ian was instrumental in his
  team’s success in upholding the plaintiffs’ allegations before the Ninth Circuit and later when the Supreme
  Court declined to review that decision. The case is ongoing.
  Markson v. CRST International, Inc. (C.D. Cal.). Ian leads a team of lawyers from Susman Godfrey and
  three other firms in a class action against several trucking companies for an alleged agreement among
  those companies not to poach each other’s contract drivers. Specifically, Ian successfully opposed multiple
  motions to dismiss and won multiple discovery motions against the defendants. To date, Ian and the
  Susman Godfrey team have secured $9.75 million in settlements for the class (pending Court approval; net
  recovery to be determined) and the case is ongoing against the remaining defendants.
  In re Dental Supplies Antitrust Litigation (E.D.N.Y.). Ian was a part of a team of lawyers from Susman
  Godfrey appointed co-lead counsel for the plaintiffs in a nationwide antitrust class action against the largest
  distributors of dental supplies and equipment. Plaintiffs alleged that the defendants had illegally agreed not
  to compete on prices for products sold to dental offices and laboratories. In 2018, a settlement was
  reached for $80 million (net recovery $48 million). Ian was honored by the American Antitrust Institute with
  the Outstanding Antitrust Litigation Achievement by a Young Lawyer Award for his work on this matter.
  Waymo v. Uber (N.D. Cal.). Ian and a team from Susman Godfrey were hired by Uber Technologies, Inc.


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  just months before trial in the lawsuit between Waymo and Uber regarding self-driving car technology.
  Alphabet’s Waymo claimed more than $2 billion in damages against Uber over allegations of stolen trade
  secrets and patent infringement. In a critical move, Ian’s team got all of Waymo’s expert damages opinions
  struck and the case settled during the first week of trial. The case was highly publicized in the media,
  including the New York Times, Reuters, CNN, Wired, and The Verge. Benchmark Litigation awarded Ian
  and the Susman Godfrey team National Impact Case of the Year for their work on this matter.

COMMERCIAL DISPUTES

  Mirada Energy v. Oasis Petroleum (Texas State Court). On behalf of Mirada Energy, Ian prosecuted
  claims against Oasis Petroleum for breach of a contractual right to participate in midstream oil and gas
  facilities that Oasis constructed to serve the prolific Wild Basin area in the Bakken and Three Forks shale
  plays in North Dakota. The case settled with Oasis agreeing to pay Mirada Energy $42.75 million.
  Papua New Guinea Oil and Gas Dispute (International Centre for Dispute Resolution). Ian
  represented a group of oil and gas investors in a dispute arising from oil and gas interests in Papua New
  Guinea. The dispute was resolved after the conclusion of a full arbitration hearing.
  Quality Is Our Recipe (Wendy’s) v. DavCo. (Ohio State Court). Ian defended one of the largest Wendy’s
  franchisees in a lawsuit brought by Wendy’s in a franchise compliance dispute. The case had significant
  implications for the relationship between franchisors and franchisees, particularly within the Wendy’s
  franchise system, and resulted in a favorable settlement with the purchase of DavCo’s franchised
  restaurants.

INTELLECTUAL PROPERTY

  Fitbit v. Jawbone (International Trade Commission). Ian defended Jawbone in a patent infringement
  action before the ITC. Ian briefed motions regarding the invalidity of Fitbit’s patents and argued at the
  Markman hearing before the presiding administrative law judge. Ian and the Susman Godfrey team
  successfully secured a ruling that Fitbit’s patents were invalid.

PRODUCT LIABILITY

   Blitz Gas Can Litigation – Walmart (Federal Courts in Arizona, Kansas, New Jersey, and Texas;
  State Courts in Arkansas and Oklahoma). Ian successfully defended Walmart in several product liability
  lawsuits in state and federal courts arising from injuries caused by plastic portable gasoline containers
  manufactured by Blitz. The cases were resolved with favorable dispositive motions or settlements.

PRO BONO

  Military Discharge Upgrade. For several years, Ian has represented a former Marine that was discharged
  from the Marine Corps with a bad conduct discharge. Ian’s client later discovered that he suffered from a
  severe form of post-traumatic stress disorder that caused the behavior underlying the court-martial. Ian
  extensively researched the legal and factual record, obtained a forensic psychiatrist to evaluate his client,
  and prepared an application to the Naval Discharge Review Board. Despite a record of being one of the
  most difficult fora to receive a discharge upgrade, the Board granted an upgrade to Ian’s client.

Ian joined Susman Godfrey after starting his career in the U.S. Army. After graduating from the U.S. Military
Academy (West Point) as a distinguished cadet, Ian went served for five years as a military intelligence
officer. During that time, Ian deployed in support of operations in both Iraq and Afghanistan.

After his military service, Ian graduated cum laude from Harvard Law School, where he was the Editor-in-
Chief of the Harvard Journal on Legislation. Upon graduation, Ian clerked for the Honorable Dennis Jacobs of
the U.S. Court of Appeals for the Second Circuit.

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Education
  U.S. Military Academy (West Point), distinguished cadet (B.S.)
  Harvard Law School, cum laude (J.D.)



Clerkship
Law Clerk to the Honorable Dennis Jacobs, United States Court of Appeals for the Second Circuit, 2013-2014



Honors and Distinctions
  Rising Stars of the Plaintiffs Bar, National Law Journal’s Elite Trial Lawyers (2022, ALM)
  Outstanding Antitrust Litigation Achievement by a Young Lawyer, American Antitrust Institute for work on In
  re: Dental Supplies Antitrust Litigation (2019)
  National Impact Case of the Year Award, Benchmark Litigation for Waymo LLC v. Uber Technologies, Inc.
  (2019)
  Editor-in-Chief, Harvard Journal on Legislation
  Dean’s Award for Community Leadership, Harvard Law School
  Bronze Star, U.S. Army



Professional Associations and Memberships
  U.S. Supreme Court
  State of Washington
  State of New York
  U.S. Court of Appeals for the Third Circuit
  U.S. Court of Appeals for the Sixth Circuit
  U.S. Court of Appeals for the Ninth Circuit
  U.S. District Court for the Southern District of New York
  U.S. District Court for the Eastern District of New York




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                   Tyler Finn
                   Associate
                   New York
                   (212) 729-2016
                   tfinn@susmangodfdrey.com



Overview
Tyler Finn joined Susman Godfrey after clerking for Judge Amalya Kearse of the U.S. Court of Appeals for the
Second Circuit and Judge Ronnie Abrams of the U.S. District Court for the Southern District of New York. He
received his J.D. from Columbia Law School, where he was an Essays and Reviews Editor for the Columbia
Law Review and a recipient of the Ruth Bader Ginsburg prize. Before entering the legal profession, Tyler
served as an electoral officer with the Organization of American States, providing electoral assistance to
governments throughout Latin America and the Caribbean. He holds a master’s degree in comparative
politics from New York University and a bachelor’s degree from Oberlin College.



Education
Columbia Law School (J.D.)

New York University (M.A. in Politics)

Oberlin College (B.A. with High Honors in Politics)




Clerkship
Honorable Ronnie Abrams, United States District Court for the Southern District of New York

Honorable Amalya Kearse, United States Court of Appeals for the Second Circuit



Honors and Distinctions
Ruth Bader Ginsburg Prize

Wilfred Feinberg Prize

Charles Bathgate Beck Prize

James Kent Scholar

Essays and Reviews Editor, Columbia Law Review




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Publications
Qualified Immunity Formalism: “Clearly Established Law” and the Right to Record Police Activity, 119 Colum.
L. Rev. 445 (2019)



Professional Associations and Memberships
State Bar of New York




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                   Armstead Lewis
                   Associate
                   Houston
                   (713) 653-7852
                   alewis@susmangodfrey.com



Overview
Armstead Lewis represents clients in federal and state courts across the country in a wide variety of high
stakes matters including business disputes, trust and probate litigation, real estate litigation,
telecommunication contract disputes, civil rights litigation, and energy disputes. The common thread in each
case he takes on is his strategy – Armstead takes the time to understand his client’s goals and helps them
visualize what success looks like for their particular dispute.

Armstead’s recent prominent matters include:

  YH Lex Estates LLC v. HFZ, et al. A real estate action in which Armstead obtained $18.1 million in
  summary judgment rulings against three different defendants for YH Lex Estates LLC in a New York state
  court over unpaid debt. Armstead initially won an early summary judgment ruling against one of the two
  guarantors of an unpaid real estate project-related loan. Armstead later won a unanimous summary
  judgment ruling on appeal against the real estate firm defendant and the other guarantor.
  Huston-Tillotson University v. Nextel Spectrum Acquisition Corp. An Educational Broadband Service
  license contract dispute, where Armstead settled a breach of contract matter on behalf of Huston-Tillotson
  University, a historically black college and university, against Sprint/T-Mobile. Huston-Tillotson held an
  Educational Broadband Service license that it leased to Sprint/T-Mobile and alleged that the wireless
  carrier breached contractual obligations. Armstead’s leadership and commitment to this matter led to a
  confidential settlement for the University.
  State of Louisiana and Louisiana Parishes v. Chevron. An environmental dispute where Armstead is
  defending American multinational energy corporation, Chevron, in more than forty lawsuits relating to the
  loss of marsh land in Louisiana filed by Louisiana Parishes and the Louisiana Department of Natural
  Resources.
  KHC, LLC, et al. v. Kim Ogg, et al. A constitutional violation case where he represented a defendant in
  the multi-defendant litigation seeking the dismissal of § 1983 claims linked to alleged violations of
  constitutional rights. Armstead’s dedicated work in this matter positioned his client for success by helping
  secure dismissal of many alleged claims in pre-trial motions and a confidential settlement.

Armstead’s understanding of how to effectively advocate for his clients is primarily attributed to the mentoring
he has received from judges on the federal judiciary. Prior to joining Susman Godfrey, Armstead completed
federal clerkships for Chief Judge Carl E. Stewart of the United States Court of Appeals for the Fifth Circuit
and Judge Ed Kinkeade of the United States District Court for the Northern District of Texas. During law
school, he also worked as a legal extern for Judge Frank M. Hull of the United States Court of Appeals for the
Eleventh Circuit and Judge Amy Totenberg of the United States District Court for the Northern District of
Georgia. These experiences gave him an in-depth knowledge of the workings of the bench as well as an

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appreciation and understanding of both sides of the “v.”

Armstead further incorporates his training in business – which includes an M.B.A. and experience writing and
researching about new developing business and consumer bankruptcy issues – as a means to understand
client goals and navigate them toward favorable results.

Armstead graduated with honors from Emory University School of Law where he was Editor in Chief of
the Emory Bankruptcy Developments Journal. For his publication in the Emory Bankruptcy Developments
Journal, Armstead received the Keith J. Shapiro Award for excellence in consumer bankruptcy writing.
Armstead also earned a B.B.A. in business management and M.B.A. from Dallas Baptist University. Armstead
remains an active alumnus of Dallas Baptist University and serves on the Dallas Baptist University Alumni
Board.



Education
Emory University (J.D., with honors)

Dallas Baptist University (M.B.A.)

Dallas Baptist University (B.B.A., business management)



Clerkship
Law Clerk to the Honorable Carl E. Stewart, Chief Judge, United States Court of Appeals for the Fifth Circuit
(2017-2018)

Law Clerk to the Honorable Ed Kinkeade, United States District Court for the Northern District of Texas
(2016-2017)




Honors and Distinctions
Editor in Chief, Emory Bankruptcy Developments Journal

Keith J. Shapiro Writing Award for Excellence in Consumer Bankruptcy Writing



Professional Associations and Memberships
State Bar of Texas

United States Court of Appeals for the Fifth Circuit

Houston Young Lawyers Association




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